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                  EXHIBIT D
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  US Serial Number: 98193522                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089093                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Business data analysis; promotional services; business consulting and information services; business, consumer, and market research
         International 035 - Primary Class                                              U.S Class(es): 100, 101, 102
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Filed 44D: Yes                                                              Currently 44E: No
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 3 of 15 PageID 36

           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X35
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
             Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 4 of 15 PageID 37


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                 Mark: X




  US Serial Number: 98193533                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089098                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Hosting an online website community for registered users to share information, photos, audio and video content and to form virtual
                       communities; Providing user authentication services in e-commerce transactions
         International 045 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 5 of 15 PageID 38

           Filed 44D: Yes                                                 Currently 44E: No
           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X45
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
             Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 6 of 15 PageID 39


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  US Serial Number: 98193530                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089094                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Computer services, namely, providing a platform featuring technology that enables internet users to post, upload, view, and share data,
                       information and multimedia content
         International 042 - Primary Class                                              U.S Class(es): 100, 101
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 7 of 15 PageID 40

           Filed 44D: Yes                                                 Currently 44E: No
           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X42
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
             Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 8 of 15 PageID 41


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  US Serial Number: 98193528                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089095                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Organizing and conducting exhibitions, events, workshops, seminars, and panel discussions; providing a website featuring user-
                       generated blogs; providing online journals, namely, blogs and video blogs featuring personal information and opinions in the field of
                       general interest
         International 041 - Primary Class                                              U.S Class(es): 100, 101, 107
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 9 of 15 PageID 42


           Filed 44D: Yes                                                 Currently 44E: No
           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X41
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 10 of 15 PageID 43


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  US Serial Number: 98193527                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089096                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Telecommunication services, namely, transmission and streaming of voice, data, images, audio, video, real-time news, entertainment
                       content, or information by means of telecommunications networks, wireless communication networks, and the internet; providing online
                       forums for the transmission of information, audio, video, real-time news, entertainment content, or information among users of
                       computing and mobile devices in an online community
         International 038 - Primary Class                                              U.S Class(es): 100, 101, 104
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
           Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 11 of 15 PageID 44

            Filed ITU: Yes                                                Currently ITU: Yes
           Filed 44D: Yes                                                 Currently 44E: No
           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X38
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 12 of 15 PageID 45


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  US Serial Number: 98193524                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089097                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Financial transaction services, namely, providing secure commercial transactions
         International 036 - Primary Class                                              U.S Class(es): 100, 101, 102
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
            Filed 44D: Yes                                                              Currently 44E: No
           Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 13 of 15 PageID 46

           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X36
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
            Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 14 of 15 PageID 47


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                 Mark: X




  US Serial Number: 98193518                                                        Application Filing Sep. 22, 2023
                                                                                                Date:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/APPLICATION/Awaiting Examination
            Descriptor:
                                                                                 The trademark application has been accepted by the Office (has met the
                                                                                 minimum filing requirements) and has not yet been assigned to an examiner.


               Status: New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.
         Status Date: Sep. 26, 2023



                                                                   Mark Information
          Mark Literal X
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                 Foreign Information
    Priority Claimed: Yes
             Foreign 0089099                                                                  Foreign Mar. 24, 2023
          Application                                                               Application Filing
            Number:                                                                             Date:
                Foreign JAMAICA
Application/Registration
               Country:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Downloadable software to enable uploading, creating, posting, editing, showing, displaying, blogging, sharing, streaming, and
                       transmitting of electronic media, video, real-time news, entertainment content, or information over the internet and other
                       communications networks
         International 009 - Primary Class                                              U.S Class(es): 021, 023, 026, 036, 038
            Class(es):
        Class Status: ACTIVE
                Basis: 1(b) 44(d)

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: No
            Filed ITU: Yes                                                              Currently ITU: Yes
           Case 6:23-cv-01903-JA-EJK Document 1-5 Filed 10/02/23 Page 15 of 15 PageID 48


           Filed 44D: Yes                                                 Currently 44E: No
           Filed 44E: No                                                  Currently 66A: No
           Filed 66A: No                                             Currently No Basis: No
     Filed No Basis: No

                                              Current Owner(s) Information
         Owner Name: X CORP.
    Owner Address: 1355 MARKET STREET, SUITE 900
                   SAN FRANCISCO, CALIFORNIA UNITED STATES 94103
   Legal Entity Type: CORPORATION                                       State or Country NEVADA
                                                                       Where Organized:

                                           Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Adam S. Weiss                                       Docket Number: 086957X9
    Attorney Primary uspt@polsinelli.com                                  Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                  Correspondent
     Correspondent ADAM S. WEISS
     Name/Address: POLSINELLI PC
                   PO BOX 140310
                   KANSAS CITY, MISSOURI UNITED STATES 64114-0310
                Phone: 312-873-3644
   Correspondent e- uspt@polsinelli.com XCorpTM@Polsinelli.com         Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                        Domestic Representative - Not Found

                                                       Prosecution History
                                                                                                          Proceeding
  Date               Description
                                                                                                          Number
Sep. 26, 2023      NEW APPLICATION ENTERED

                                            TM Staff and Location Information
                                                            TM Staff Information - None
                                                                   File Location
   Current Location: NEW APPLICATION PROCESSING                         Date in Location: Sep. 26, 2023
